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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ14-128
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     HARMINDER SINGH RAI,
12
                                   Defendant.
13

14
     Offense charged:
15
            Count 1:       Conspiracy to Distribute Cocaine
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17   Date of Detention Hearing: April 3, 2014.
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

22                  defendant is a flight risk and a danger to the community based on the nature of

23                  the pending charges. Application of the presumption is appropriate in this case.

24          2.      Defendant is charged with being in possession of up to $1.6 million dollars of

25                  cocaine.

26

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 1         3.     Defendant is a Canadian citizen with substantial ties to India and other parts of

 2                the world.

 3         4.     Defendant has no ties to the Western District of Washington.

 4         5.     The evidence against the defendant, although the least significant factor, is very

 5                strong.

 6         6.     There are no conditions or combination of conditions other than detention that

 7                will reasonably assure the appearance of defendant as required or ensure the

 8                safety of the community.

 9         IT IS THEREFORE ORDERED:
10         (1)    Defendant shall be detained and shall be committed to the custody of the
11                Attorney General for confinement in a correction facility separate, to the extent
12                practicable, from persons awaiting or serving sentences or being held in custody
13                pending appeal;
14         (2)    Defendant shall be afforded reasonable opportunity for private consultation with
15                counsel;
16         (3)    On order of a court of the United States or on request of an attorney for the
17                government, the person in charge of the corrections facility in which defendant
18                is confined shall deliver the defendant to a United States Marshal for the
19                purpose of an appearance in connection with a court proceeding; and
20         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
21                counsel for the defendant, to the United States Marshal, and to the United States
22                Pretrial Services Officer.
23         DATED this 3rd day of April, 2014.
24

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                                                AJAMES P. DONOHUE
26                                               United States Magistrate Judge

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     18 U.S.C. § 3142(i)
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